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                                                       EXHIBIT 5

Deposition Notice Albert Burl ........................................................................................................................ 1
Deposition Notice Charo Holden ................................................................................................................... 4
Deposition Notice Cleo Perry.......................................................................................................................... 7
Deposition Notice Debbie Schum ................................................................................................................ 10
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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                   CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                        CIVIL ACTION NO.:
                                                                           90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.               HON. JAY C. ZAINEY




TO:     Albert “Ali” Burl, III
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

               PLAINTIFFS’ NOTICE OF DEPOSITION OF ALBERT BURL, III

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Mr. Albert “Ali” Burl, III, for the purpose of discovery or for use as

evidence in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil

Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                         Respectfully submitted

                                                     1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 3 of 46



                                   /s/ Victor M. Jones
                                   Victor M. Jones (La. Bar No. 34937)
                                   *Victor Genecin
                                   *Elizabeth Caldwell
                                   NAACP LEGAL DEFENSE AND
                                   EDUCATIONAL FUND, INC.
                                   40 Rector Street, Floor 5
                                   New York, New York 10006
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                                   vgenecin@naacpldf.org
                                   bcaldwell@naacpldf.org

                                   *Admitted Pro Hac Vice

                                   /s/ Gideon T. Carter, III.
                                   Gideon T. Carter, III. (La. Bar No. 14136)
                                   P.O. Box 80264
                                   4962 Florida Blvd FL4
                                   Baton Rouge, LA 70806
                                   Ph: (225) 214-1546
                                   Fax: (225) 341-8874
                                   Gideontcarter3d@gmail.com

                                   Counsel for Plaintiffs




                               2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 4 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
                                                               40 Rector Street, 5th Floor
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                                                               vjones@naacpldf.org




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         Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 5 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                  CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                       CIVIL ACTION NO.:
                                                                          90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.              HON. JAY C. ZAINEY




TO:     Charo Holden
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

                PLAINTIFFS’ NOTICE OF DEPOSITION OF CHARO HOLDEN

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Charo Holden, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

                                                          /s/ Victor M. Jones
                                                          Victor M. Jones (La. Bar No. 34937)
                                                    1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 6 of 46



                                   *Victor Genecin
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                                   bcaldwell@naacpldf.org

                                   *Admitted Pro Hac Vice

                                   /s/ Gideon T. Carter, III.
                                   Gideon T. Carter, III. (La. Bar No. 14136)
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                                   4962 Florida Blvd FL4
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                                   Counsel for Plaintiffs




                               2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 7 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
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         Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 8 of 46




                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                            CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                                13,212 SECTION A

                       v.                                                   CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                         CIVIL ACTION NO.:
                                                                            90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                  Defendants.               HON. JAY C. ZAINEY




TO:     Dr. Cleo Perry, Jr.
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

              PLAINTIFFS’ NOTICE OF DEPOSITION OF DR. CLEO PERRY, JR.

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Dr. Cleo Perry, Jr., for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                           Respectfully submitted

                                                           /s/ Victor M. Jones
                                                           Victor M. Jones (La. Bar No. 34937)
                                                      1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 9 of 46



                                   *Victor Genecin
                                   *Elizabeth Caldwell
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                                   bcaldwell@naacpldf.org

                                   *Admitted Pro Hac Vice

                                   /s/ Gideon T. Carter, III.
                                   Gideon T. Carter, III. (La. Bar No. 14136)
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                                   4962 Florida Blvd FL4
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                                   Gideontcarter3d@gmail.com

                                   Counsel for Plaintiffs




                               2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 10 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 11 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                  CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                       CIVIL ACTION NO.:
                                                                          90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.              HON. JAY C. ZAINEY




TO:     Debbie Schum
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

                 PLAINTIFFS’ NOTICE OF DEPOSITION OF DEBBIE SCHUM

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Debbie Schum, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

                                                          /s/ Victor M. Jones
                                                          Victor M. Jones (La. Bar No. 34937)
                                                    1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 12 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
                                    P.O. Box 80264
                                    4962 Florida Blvd FL4
                                    Baton Rouge, LA 70806
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                                    Fax: (225) 341-8874
                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 13 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                  CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                       CIVIL ACTION NO.:
                                                                          90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.              HON. JAY C. ZAINEY




TO:     Jaye Ambrose
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

                PLAINTIFFS’ NOTICE OF DEPOSITION OF JAYE AMBROSE

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Jaye Ambrose, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

                                                          /s/ Victor M. Jones
                                                          Victor M. Jones (La. Bar No. 34937)
                                                    1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 15 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    Fax: (212) 226-7592
                                    vjones@naacpldf.org
                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
                                    P.O. Box 80264
                                    4962 Florida Blvd FL4
                                    Baton Rouge, LA 70806
                                    Ph: (225) 214-1546
                                    Fax: (225) 341-8874
                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 16 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
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                                                               New York, NY 10006
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                                                               vjones@naacpldf.org




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         Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 17 of 46




                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                             CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                                 13,212 SECTION A

                       v.                                                    CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                          CIVIL ACTION NO.:
                                                                             90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                   Defendants.               HON. JAY C. ZAINEY




TO:     Jennifer Frizzell
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

              PLAINTIFFS’ NOTICE OF DEPOSITION OF JENNIFER FRIZZELL

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Jennifer Frizzell, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                            Respectfully submitted

                                                            /s/ Victor M. Jones
                                                            Victor M. Jones (La. Bar No. 34937)
                                                       1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 18 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    vjones@naacpldf.org
                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
                                    P.O. Box 80264
                                    4962 Florida Blvd FL4
                                    Baton Rouge, LA 70806
                                    Ph: (225) 214-1546
                                    Fax: (225) 341-8874
                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 19 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 20 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                  CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                       CIVIL ACTION NO.:
                                                                          90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.              HON. JAY C. ZAINEY




TO:     Lindsey Vicknair
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

              PLAINTIFFS’ NOTICE OF DEPOSITION OF LINDSEY VICKNAIR

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Lindsey Vicknair, for the purpose of discovery or for use as

evidence in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil

Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and

may be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                         Respectfully submitted

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 21 of 46



                                    /s/ Victor M. Jones
                                    Victor M. Jones (La. Bar No. 34937)
                                    *Victor Genecin
                                    *Elizabeth Caldwell
                                    NAACP LEGAL DEFENSE AND
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                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
                                    P.O. Box 80264
                                    4962 Florida Blvd FL4
                                    Baton Rouge, LA 70806
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                                    Fax: (225) 341-8874
                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

                                                                            -20-
        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 22 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
                                                               40 Rector Street, 5th Floor
                                                               New York, NY 10006
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 23 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                  CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                       CIVIL ACTION NO.:
                                                                          90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.              HON. JAY C. ZAINEY




TO:     Michael Hefner
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

               PLAINTIFFS’ NOTICE OF DEPOSITION OF MICHAEL HEFNER

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Plaintiffs will take the deposition of Mr. Michael Hefner, for the purpose of discovery or for

use as evidence in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of

Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 24 of 46



                                    /s/ Victor M. Jones
                                    Victor M. Jones (La. Bar No. 34937)
                                    *Victor Genecin
                                    *Elizabeth Caldwell
                                    NAACP LEGAL DEFENSE AND
                                    EDUCATIONAL FUND, INC.
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                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
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                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




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                                                                            -23-
        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 25 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
                                                               40 Rector Street, 5th Floor
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                                                               Phone: (212) 985-2200
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                                                               vjones@naacpldf.org




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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 26 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                  CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                       CIVIL ACTION NO.:
                                                                          90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.              HON. JAY C. ZAINEY




TO:     Nia Mitchell
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

                 PLAINTIFFS’ NOTICE OF DEPOSITION OF NIA MITCHELL

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Nia Mitchell, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

                                                          /s/ Victor M. Jones
                                                          Victor M. Jones (La. Bar No. 34937)
                                                    1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 27 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    EDUCATIONAL FUND, INC.
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                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
                                    P.O. Box 80264
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                                    Baton Rouge, LA 70806
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                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 28 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 29 of 46




                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                            CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                                13,212 SECTION A

                       v.                                                   CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                         CIVIL ACTION NO.:
                                                                            90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                  Defendants.               HON. JAY C. ZAINEY




TO:     Patricia Triche
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

               PLAINTIFFS’ NOTICE OF DEPOSITION OF PATRICIA TRICHE

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Patricia Triche, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                           Respectfully submitted

                                                           /s/ Victor M. Jones
                                                           Victor M. Jones (La. Bar No. 34937)
                                                      1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 30 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
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                                    Baton Rouge, LA 70806
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                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 31 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 32 of 46




                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                            CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                                13,212 SECTION A

                       v.                                                   CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                         CIVIL ACTION NO.:
                                                                            90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                  Defendants.               HON. JAY C. ZAINEY




TO:     Patrick Sanders
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

               PLAINTIFFS’ NOTICE OF DEPOSITION OF PATRICK SANDERS

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Mr. Patrick Sanders, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                           Respectfully submitted

                                                           /s/ Victor M. Jones
                                                           Victor M. Jones (La. Bar No. 34937)
                                                      1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 33 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
                                    P.O. Box 80264
                                    4962 Florida Blvd FL4
                                    Baton Rouge, LA 70806
                                    Ph: (225) 214-1546
                                    Fax: (225) 341-8874
                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

                                                                            -32-
        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 34 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 35 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                   CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                        CIVIL ACTION NO.:
                                                                           90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.               HON. JAY C. ZAINEY




TO:     Raydel Morris
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

                PLAINTIFFS’ NOTICE OF DEPOSITION OF RAYDEL MORRIS

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Mr. Raydel Morris, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

                                                          /s/ Victor M. Jones
                                                          Victor M. Jones (La. Bar No. 34937)
                                                     1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 36 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
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                                    Baton Rouge, LA 70806
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                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 37 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 38 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                  CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                       CIVIL ACTION NO.:
                                                                          90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.              HON. JAY C. ZAINEY




TO:     Samuel Mamou
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

               PLAINTIFFS’ NOTICE OF DEPOSITION OF SAMUEL MAMOU

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Mr. Samuel Mamou, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

                                                          /s/ Victor M. Jones
                                                          Victor M. Jones (La. Bar No. 34937)
                                                    1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 39 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
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                                    4962 Florida Blvd FL4
                                    Baton Rouge, LA 70806
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                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 40 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 41 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                          CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                              13,212 SECTION A

                      v.                                                   CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                        CIVIL ACTION NO.:
                                                                           90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                 Defendants.               HON. JAY C. ZAINEY




TO:     Shawn Wallace
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

               PLAINTIFFS’ NOTICE OF DEPOSITION OF SHAWN WALLACE

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Mr. Shawn Wallace, for the purpose of discovery or for use as evidence

in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                          Respectfully submitted

                                                          /s/ Victor M. Jones
                                                          Victor M. Jones (La. Bar No. 34937)
                                                     1

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 42 of 46



                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    EDUCATIONAL FUND, INC.
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                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
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                                    Baton Rouge, LA 70806
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                                    Counsel for Plaintiffs




                                2

                                                                            -41-
        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 43 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
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        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 44 of 46




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


                                                                         CIVIL ACTION NO.:
 HERMON HARRIS, JR., ET AL.,                                             13,212 SECTION A

                      v.                                                 CONSOLIDATED WITH

 ST. JOHN THE BAPTIST PARISH SCHOOL                                      CIVIL ACTION NO.:
                                                                         90-cv-01669 SECTION A
 BOARD, ET AL.,
                                                Defendants.              HON. JAY C. ZAINEY




TO:     Sherry DeFrancesch
        c/o Hammonds, Sills, Adkins & Guice, LLP
        2431 South Acadian Thruway, Suite 600
        Baton Rouge, LA 70808

             PLAINTIFFS’ NOTICE OF DEPOSITION OF SHERRY DeFRANCESCH

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil Procedure,

Plaintiffs will take the deposition of Ms. Sherry DeFrancesch, for the purpose of discovery or for use as

evidence in this action, or for both purposes in accordance with Rule 26 of the Federal Rules of Civil

Procedure.

        The deposition will be conducted on August _______, 2024 at 10:00 a.m. CDT at 201 St. Charles

Avenue, 25th Floor. New Orleans, Louisiana 70170, and will continue from day to day, or according to a

schedule mutually agreed upon by the parties, until completed. Counsel reserves its rights to conduct this

deposition remotely. The deposition will be recorded stenographically by a certified court reporter and may

be recorded by video and audio by a certified videographer.

Dated: July 2, 2024

                                                         Respectfully submitted

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Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 45 of 46



                                    /s/ Victor M. Jones
                                    Victor M. Jones (La. Bar No. 34937)
                                    *Victor Genecin
                                    *Elizabeth Caldwell
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                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No. 14136)
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                                    Fax: (225) 341-8874
                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




                                2

                                                                            -44-
        Case 2:90-cv-01669-JCZ Document 223-5 Filed 07/25/24 Page 46 of 46



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was served upon all Counsel

of Record via electronic mail on this 2nd day of July, 2024.

                                                               /s/ Victor M. Jones_______________
                                                               Victor M. Jones (La. Bar No. 34937)
                                                               NAACP LEGAL DEFENSE AND
                                                               EDUCATIONAL FUND, INC.
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                                                               New York, NY 10006
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                                                               vjones@naacpldf.org




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